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IN CLERK'S OFFICE:
UNITED STATES. DISTRICT COURT US. DISTRI CT COURT ebay.
EASTERN DISTRICT OF NEW YORK * dUL jo ania *
th NbgE DENNIS
LONG ISLAND OFFICE

CIVIL RIGHTS COMPLAINT
Plaintiff, 42 U.S.C. § 1983
{Insert full name of plaintiff/prisoner]

JURY mw

YES NO

-against-

NAsSé Count Keeton C V-19 4 0 Z i

C eNTee =

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NASSAU Co ow TAI oe ereES

Detrtwestt £ Dell oF BLOOM, MJ.
Se( weer

Defendant(s).
[Insert full name(s) of defendant(s). If you need additional
space, please write “see attached” and insert a separate

page with the full names of the additional defendants. The
names listed above must be identical to those listed in Part {]

I. Parties: (in item A below, place your name in the first blank and provide your present
address and telephone number. Do the same for additional plaintiffs, if any.)

A. Name of plaintiff AW okE “OENNTS

If you are incarcerated, provide the name of the facility and address:
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(00 CAR UAN AVE EAst MéeAnow , ny ussd

Prisoner (D Number: __{ 7 CYQ-09S S
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If you are not incarcerated, provide your current address:

Telephone Number:

B. List all defendants. You must provide the full names of each defendant and the
addresses at which each defendant may be served. The defendants listed here must match the
defendants named in the caption on page 7.

Defendant No. 1 Nasoact Cocinrt \ (oCRETHINAL CENTER

Full Name

Uae toupmG Fact ccty
Job Title |

[60 AYMAN AVE FAST HeADOW,
NWS SY

Address

Defendant No. 2 _NASSAU Cox tT 4

Full Name

Count

Job Title |
NASSAU Ccunit

Address

Defendant No. 3 ASA Cac rr\| SHE KITES OD ELARTMEN|

Full Name

Job Title

Address

Defendant No. 4 Wert _ OF SECUCTY
Full Name [.
ZNMATE Secu)
Job Title J

NASAL County

Address

Defendant No. 5

Full Name

Job Title

Address
Il. Statement of Claim:

(State briefly and concisely, the facts of your case. Include the date(s) of the event(s) alleged as
well as the location where the events occurred. Include the names of each defendant and state
how each person named was involved in the event you are claiming violated your rights. You
need not give any legal arguments or cite to cases or statutes. If you intend to allege a number
of related claims, number and set forth each claim in a separate paragraph. You may use

- additional 8 % by 11 sheets of paper as necessary.)

Where did the events giving rise to your claim(s) occur? N SOA (OUST
CoR@s Chrontal Cenmek TN THhs Ate ict DanG
On) ARC (Docu)
When did the events happen? (include approximate time and date) SEPTEM CER 2\
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Facts: (what happened?) — 1 WAS ON “Te Pith Wak
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LA. Injuries. If you are claiming injuries as a result of the events you are complaining
about, describe your injuries and state what medical treatment you required. Was medical
treatment received?

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AML Relief: State what relief you are seeking if you prevail on your complaint.

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| declare under penaity of perjury that on 216, | 2619 , | delivered this
(date)
complaint to prison authorities at A/ SAU i OLRE (to be mailed to the United
(name of atison) CENTOS

States District Court for the Eastern District of New York.

Dated: 4 (O] QU - =
Signature of a

Nissdte count! Geeectrpa tC CENCE

Name of Prison Facility or Address if not incarcerated
lip Hips AVE
FAST MEADonI, Al y ussY

Address

L10-09SS

Prisoner ID#

rev. 12/1/2015
